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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

               Plaintiff,

 v.                                                     Case No. 05-CR-20002-3

 MAXWELL GARNETT,

               Defendant.
                                                  /

        OPINION AND ORDER DENYING DEFENDANT’S “MOTION TO STAY”

        On March 14, 2008, Defendant Maxwell Garnett filed the instant “Motion to Stay,”

 requesting additional time to comply with Federal Rule of Appellate Procedure 10(b)

 (governing the ordering of trial transcripts) to allow Defendant’s current attorney to

 withdraw and for substitute counsel to be appointed.1 There is, however, no need

 apparent to the court for a stay of proceedings. Neither the filing of a notice of appeal or

 the ordering of trial transcripts are complicated, and the court knows Defendant’s

 counsel of record to be well-acquainted with the appellate process.2

        IT IS ORDERED that Defendant’s “Motion to Stay” [Dkt. # 201] is DENIED.


                                            S/Robert H. Cleland
                                           ROBERT H. CLELAND
                                           UNITED STATES DISTRICT JUDGE


        1
         The court expresses no belief here that withdrawal should be permitted or that
 Defendant qualifies for appointment of publically-funded counsel. In fact, the court
 doubts that either is the case.
        2
         Also, Defendant’s motion includes no statement of any attempt to seek
 concurrence to determine whether there would be opposition by the other party. See
 E.D. Mich. L.R. 7.1(a).
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 Dated: March 20, 2008


 I hereby certify that a copy of the foregoing document was mailed to counsel of record
 on this date, March 20, 2008, by electronic and/or ordinary mail.


                                                                    S/Lisa Wagner
                                                                   Case Manager and Deputy Clerk
                                                                   (313) 234-5522




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